Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 1 of 12 PageID #:1


                                                          FIL/2E0D
                                                                 20
                                                              6/1
                                                                      . BRUTO    N
                                                            THOMA.SDG
                                                                    IS T R IC T COURT
                                                         CLERK, U.S



                                                        20cr254
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 2 of 12 PageID #:2
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 3 of 12 PageID #:3




                                                      20-mj-344 BRT
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 4 of 12 PageID #:4




                                                    20-mj-344 BRT
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 5 of 12 PageID #:5
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 6 of 12 PageID #:6


                                             20-mj-344 BRT
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 7 of 12 PageID #:7
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 8 of 12 PageID #:8
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 9 of 12 PageID #:9
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 10 of 12 PageID #:10
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 11 of 12 PageID #:11
Case: 1:20-cr-00254 Document #: 1 Filed: 06/01/20 Page 12 of 12 PageID #:12
